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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


        JUAN LOZADA-LEONI,                        §
        Plaintiff,                                §
                                                  §
        v.                                        §
                                                  §          Civil Action No. 4:20-cv-00068
                                                  §
        MONEYGRAM INTERNATIONAL,                  §                    RWS-CMC
        INC., and MONEYGRAM                       §
        PAYMENT SYSTEMS, INC.,                    §
        Defendants                                §
                                                  §
                                                  §

       ORDER ON JOINT MOTION FOR ENTRY OF SCHEDULING ORDER REGARDING
                            ATTORNEY FEE DISPUTE

              Before the Court is proposed intervenor Kardell Law Group (“KLG”) and Plaintiff

       Lozada Leoni’s JOINT MOTION FOR ENTRY OF SCHEDULING ORDER REGARDING
       ATTORNEY FEE DISPUTE (Dkt. No. 132). The Court, having reviewed the joint motion, is of
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       the opinion the motion should be GRANTED. The Court orders the following:

                 a. Both Plaintiff and KLG are to submit their relative positions by November 27,
                    2020,
                 b. Both Plaintiff and KLG are to submit their Responses to the above by December
                    4, 2020.
                 c. Both Plaintiff and KLG are to submit their Replies to the above by December 11,
                    2020; and
                 d. The Court’s Order of October 29, 2020 [Dkt.131] staying all deadlines is
                    extended only as to a determination of attorney fees and associated deadlines
                    pending resolution of the attorney fees issue.
       SO ORDERED.

      SIGNED this 16th day of November, 2020.




                                               ____________________________________
                                               CAROLINE M. CRAVEN
                                               UNITED STATES MAGISTRATE JUDGE
